                   Case 1:16-cr-00140-JFM Document 16 Filed 05/26/16 Page 1 of 10
                                                              u.s. nepartmcnt               of .Justice

                                                              Uniled Slates Allorney
                                                              Dislricl (~lMaryland

       lSOh{Mihok


cj
                                                              SI/llt'   .filII                            DIN/X'?': J/O.2119-4903
( . ISjf!11 Unlit.'." Slales AI/orne)'                        36 S. Charles ,""/I'eel                        .1i..II;\', .JI ().209 •.f8110
 u .'IJII.MlhoJ.;(fl)usd/l}.gov                               BaltImore, II/) J/211/-3//9                      FA.\': J/II.961-07/6




                                                              May 2, 2016

Joseph P. Meadows, Esq.
Law Oftices ofJoseph P. Meadmvs. LLC
104 Victory Lane, Suite 101
Bel Air, MD 21014

              Re:          United States v. Michael Francis Chanev. JFM 16-0140

Dear Mr. Meadows:

         This letter, together with the Sealed Supplement, conlirms the plea agreement which has
been offered to the Defendant by the United States Attorney's Office for the District of Maryland
('.this Office"). If the Defendant acccpts this offer, please have him execute it in the spaces
provided below. If this offcr has not been accepted by close of business on May 16, 2016, it \vill
be deemed 'vvithdrawn. The terms of the agreement are as follows:

                                                Offense of Conviction

        I.      The Defendant agrees to plead guilty to Counts 1\\'0 and Five of the Indictment
pending against him which charges him with Distribution of Child Pornography, in violation of
18 U.S.c. SS 2252(a)(2) and (b)( 1). and Possession of Child Pornography. in violation of 18
U,S'c. S~ 2252A(a)(5)(B) and (b)(2), respectively. The Defcndant admits that he is, in fact,
guilty of those offenses and will so advise the Court.

                                               Elements of the Offense

       2.      The elements ol'the offense to which the Defendant has agreed to plead guilty.
and which this Office would prove if the case went to trial, are as follows:

                          Distribution of Child POl11ography(Count Two)

                First, that on or about September 24, 20 IJ, the Defendant knowingly distributed a
visual depiction;

                 Second, said visual depiction \-vasshipped or transported in and affecting
interstate or tbreign commerce by any means. including computer;

               Third. the production of said visual depiction involved the use of a minor
engaging in sexually explicit conducl:
             Case 1:16-cr-00140-JFM Document 16 Filed 05/26/16 Page 2 of 10

                 Fourth, said visual depiction is of a minor engaged in sexually explicit conduct;
and

                Fifth, the Defendant knew that at least one of the individuals in such visual
depiction was a minor and knew that the visual depiction was of such minor engaged in sexually
explicit conduct.

                 Possession of Child Pornography (Count Five)

                 First, on or about February 6, 2015, the Defendant knowingly possessed a visual
depiction;

              Second, the depiction was shipped or transported in and affecting interstate or
foreign commerce by any means, including computer;

               Third, producing the visual depiction involved using a minor engaged in sexually
explicit conduct;

                 Fourth, the depiction is of a minor engaged in sexually explicit conduct; and

               Fifth, the Defendant knew that at least one of the individuals in the visual
depiction was a minor and knew that the depiction showed the minor engaged in sexually
explicit conduct; and

               Sixth, the Defendant knew that at least one of the individuals in the visual
depiction was of a prepubescent minor, that is, a minor under the age of 12, depicted in sexually
explicit conduct.

                                              Penalties

        3.      The maximum sentence provided by statute for the offenses to which your client
is pleading guilty is as follows: (1) for Count Two (Distribution of Child Pornography, in
violation of 18 U.S.C. ~~ 2252(a)(2) and (b)(l», a mandatory minimum of five (5) years of
incarceration, with a maximum of twenty (20) years of incarceration, followed by a term of
supervised release of not less than five years and not more than life and a fine of up to $250,000;
and (2) for Count Five (Possession of Child Pornography, in violation of 18 U.S.C.
~~2252A(a)(5)(B) and (b)(2», a maximum of twenty (20) years of incarceration, followed by a
term of supervised release of not less than five years and not more than life and a fine of up to
$250,000. In addition, the Defendant must pay $100 as a special assessment for each offense
pursuant to 18 U.S.C. ~ 3013, which will be due and should be paid at or before the time of
sentencing. This Court may also order him to make restitution pursuant to 18 U.S.C. ~~ 3663,
3663A, and 3664. If a fine or restitution is imposed, it shall be payable immediately, unless,
pursuant to 18 U.S.C. ~ 3572(d). the Court orders otherwise. The Defendant understands that if
he serves a term of imprisonment, is released on supervised release, and then violates the
conditions of his supervised release, his supervised release could be revoked - even on the last
day of the term - and the Defendant could be returned to custody to serve another period of
incarceration and a new term of supervised release. The Defendant understands that the Bureau

                                                  2
          Case 1:16-cr-00140-JFM Document 16 Filed 05/26/16 Page 3 of 10

of Prisons has sole discretion in designating the institution at which the Defendant will serve any
tenn of imprisonment imposed.

        4.      The Defendant understands and agrees that as a consequence of his conviction for
the crimes to which he is pleading guilty, he will be required to register as a sex offender in the
place where he resides, where he is an employee, and where he is a student, pursuant to the Sex
Offender Registration and Notification Act (SORNA), and the laws of the state of his residence.
Failure to do so may subject him to new charges pursuant to 18 U.S.C. ~ 2250.

                                         Waiver of Rights

        5.      The Defendant understands that by entering into this agreement, he surrenders
certain rights as outlined below:

                 a.     If the Defendant had persisted in his plea of not guilty, he would have had
the right to a speedy jury trial with the close assistance of competent counsel. That trial could be
conducted by ajudge, without a jury, if the Defendant, this Office, and the Court all agreed.

                b.      If the Defendant elected a jury trial, the jury would be composed of twelve
individuals selected from the community. Counsel and the Defendant would have the
opportunity to challenge prospective jurors who demonstrated bias or who were otherwise
unqualified, and would have the opportunity to strike a certain number of jurors peremptorily.
All twelve jurors would have to agree unanimously before the Defendant could be found guilty
of any count. The jury would be instructed that the Defendant was presumed to be innocent, and
that presumption could be overcome only by proof beyond a reasonable doubt.

                c.     If the Defendant went to trial, the government would have the burden of
proving the Defendant guilty beyond a reasonable doubt. The Defendant would have the right to
confront and cross-examine the government's witnesses. The Defendant would not have to
present any defense witnesses or evidence whatsoever. If the Defendant wanted to call witnesses
in his defense, however, he would have the subpoena power of the Court to compel the witnesses
to attend.

                 d.      The Defendant would have the right to testify in his own defense ifhe so
chose, and he would have the right to refuse to testify. Ifhe chose not to testify, the Court could
instruct the jury that they could not draw any adverse inference from his decision not to testify.

                e.     If the Defendant were found guilty after a trial, he would have the right to
appeal the verdict and the Court's pretrial and trial decisions on the admissibility of evidence to
see if any errors were committed which would require a new trial or dismissal of the charges
against him. By pleading guilty, the Defendant knowingly gives up the right to appeal the
verdict and the Court's decisions.

                f.      By pleading guilty, the Defendant will be giving up all of these rights,
except the right, under the limited circumstances set forth in the "Waiver of Appeal" paragraph
below, to appeal the sentence. By pleading guilty, the Defendant understands that he may have
to answer the Court's questions both about the rights he is giving up and about the facts of his

                                                 3
            Case 1:16-cr-00140-JFM Document 16 Filed 05/26/16 Page 4 of 10

case. Any statements the Defendant makes during such a hearing would not be admissible
against him during a trial except in a criminal proceeding for perjury or false statement.

                 g.     If the Court accepts the Defendant's plea of guilty, there will be no further
trial or proceeding of any kind. and the Court will find him guilty.

                h.      By pleading guilty, the Defendant will also be giving up certain valuable
civil rights and may be subject to deportation or other loss of immigration status. The
Defendant recognizes that ifhe is not a citizen of the United States, pleading guilty may have
consequences with respect to his immigration status. Under federal law, conviction for a broad
range of crimes can lead to adverse immigration consequences, including automatic removal
from the United States. Removal and other immigration consequences are the subject of a
separate proceeding, however, and the Defendant understands that no one, including his attorney
or the Court, can predict with certainty the effect of a conviction on immigration status.
Defendant nevertheless affirms that he wants to plead guilty regardless of any potential
immigration consequences.

                              Advisory Sentencing Ouidelines Apply

       6.       The Defendant understands that the Court will determine a sentencing guidelines
range for this case (henceforth the "advisory guidelines range") pursuant to the Sentencing
Reform Act of 1984 at 18 U.S.C. ~~ 3551-3742 (excepting 18 U.S.C. ~~ 3553(b)(1) and
3742(e» and 28 U.S.C. ~~ 991 through 998. The Defendant further understands that the Court
will impose a sentence pursuant to the Sentencing Reform Act, as excised, and must take into
account the advisory guidelines range in establishing a reasonable sentence.

                           Factual and Advisory Ouidelines Stipulation

        7.    This Office and the Defendant understand, agree and stipulate to the following
Statement of Facts set forth in Attachment A hereto which this Office would prove beyond a
reasonable doubt and to the following applicable sentencing guidelines factors:

                 a.    The base offense level is twenty-two (22) pursuant to U.S.S.O.
~2G2.2(a)(1 ).

               b.      Pursuant to U.S.S.G. ~2G2.2(b)(2), there is a two (2) level increase
because the depictions involved prepubescent minors or minors under the age of twelve (12).

                c.     Pursuant to U.S.S.G. ~2G2.2(b)(3)(B), there is a five (5) level increase
because the offense involved distribution for the receipt, or expectation of receipt, of a thing of
value, but not for pecuniary gain.

              d.      Pursuant to U.S.S.O. ~202.2(b)(4), there is a tour (4) level increase
because the material portrays sadistk or masochistic conduct or other depictions of violence.

               e.     Pursuant to U.S.S.O. ~202.2(b)(6), there is a two (2) level increase
because the possession and distribution involved the use of a computer.

                                                  4
          Case 1:16-cr-00140-JFM Document 16 Filed 05/26/16 Page 5 of 10

              f.     Pursuant to U.S.S.G. ~2G2.2(b)(7)(D), there is a five (5) level increase
because the number of images exceeds 600.

         This Office does not oppose a two-level reduction in the Defendant's adjusted offense
level, based upon your client's apparent prompt recognition and affirmative acceptance of
personal responsibility for his criminal conduct. This Office agrees to make a motion pursuant to
U.S.S.G. ~3EI.l(b) for an additional I-level decrease in recognition of your client's acceptance
of personal responsibility for his conduct. This Office may oppose any adjustment for
acceptance of responsibility if your client (a) fails to admit each and every item in the factual
stipulation; (b) denies involvement in the offense; (c) gives conflicting statements about his
involvement in the offense; (d) is untruthful with the Court, this Office or the United States
Probation Officer; (e) obstructs or attempts to obstruct justice prior to sentencing; (t) engages in
any criminal conduct between the date of this agreement and the date of sentencing; or (g)
attempts to withdraw his plea of guilty.

       Thus, the final anticipated adjusted base offense level is thirty-seven (37).

        8.      The Defendant understands that there is no agreement as to his criminal history or
criminal history category, and that his criminal history could alter his offense level ifhe is a
career offender or if the instant offense was a part of a pattern of criminal conduct from which he
derived a substantial portion of his income.

        9.      This Office and the Defendant agree that, with respect to the calculation of the
advisory guidelines range, no other offense characteristics, sentencing guidelines factors,
potential departures or adjustments set forth in Chapters 2,3, 4 or 5 of the United States
Sentencing Guidelines will be raised or are in dispute.

                        Obligations of the United States Attorney's Office

        10.    At the time of sentencing, this Office will recommend a sentence of 72 months of
imprisonment, to be followed by at least five years and up to lifetime supervised release,
consistent with Paragraph 12. The sentence may also include restitution as well as the applicable
special assessment.

        II.    The parties reserve the right to bring to the Court's attention at the time of
sentencing, and the Court will be entitled to consider, all relevant information concerning the
Defendant's background, character and conduct. Should the defendant choose to file a
sentencing memorandum in this matter, the defendant agrees to file any such memorandum ten
business days prior to the date of sentencing.

                                      Rule II (c)(I)(C)   Plea

          12.    The parties stipulate and agree pursuant to Federal Rule of Criminal Procedure
 I 1(c)(1)(C) that a sentence of72 months of imprisonment, to be followed by at least five years
and up to a lifetime term of supervised release, is the appropriate disposition of this case. This
agreement does not affect the Court's discretion to impose any lawful conditions of supervised
release. In the event that the Court rejects this plea agreement, either party may elect to declare

                                                  5
          Case 1:16-cr-00140-JFM Document 16 Filed 05/26/16 Page 6 of 10

the agreement null and void. Should the Defendant so elect, he will be afforded the opportunity
to withdraw his plea pursuant to the provisions of Federal Rule of Criminal Procedure II(c)(5).

                                         Waiver of Appeal

         13.      The Defendant and this Office knowingly and expressly waive all rights conferred
by 28 U.S.C. ~ 1291 to appeal the conviction and 18 U.S.C. ~ 3742 to appeal the sentence
provided it is the sentence indicated in paragraph 12(72 months of imprisonment), as well as
applicable restitution, special assessment, and fine that may be imposed, and any issues that
relate to the establishment of the advisory guidelines range. Nothing in this agreement shall be
construed to prevent either the Defendant or this Office from invoking the provisions of Federal
Rule of Criminal Procedure 35(a), and appealing from any decision thereunder, should a
sentence be imposed that is illegal or that exceeds the statutory maximum allowed under the law
or that is less than any applicable statutory mandatory minimum provision. The Defendant
waives any and all rights under the Freedom of Information Act relating to the investigation and
prosecution of the above-captioned matter and agrees not to file any request for documents from
this Office or any investigating agency.

        14.    The Defendant further waives any and all motions, defenses, probable cause
determinations, objections which defendant could assert to the Indictment or to the Court's entry
of judgment against the Defendant, and any imposition of sentence upon the Defendant
consistent with this agreement. If Defendant files a notice of appeal, notwithstanding this
agreement, Defendant agrees that this case shall be remanded to the district court to determine
whether Defendant is in breach of this agreement and, ifso, to permit the United States to
withdraw from the plea agreement.

                                         Court Not a Party

        IS.    The Defendant expressly understands that the Court is not a party to this
agreement. The Defendant understands that the Court is under no obligation to accept this plea
offer made pursuant to Rule 11(c)(l )(C). The Defendant understands that neither the prosecutor,
his counsel, nor the Court can make a binding prediction, promise, or representation as to what
guidelines range or sentence the Defendant will receive. The Defendant agrees that no one has
made such a binding prediction or promise.

                             Obstruction or Other Violations of Law

         16.     The Defendant agrees that he will not commit any offense in violation of federal,
state or local law between the date of this agreement and his sentencing in this case. In the event
that the Defendant (i) engages in conduct after the date of this agreement which would justify a
finding of obstruction of justice under U.S.S.G. ~3C 1.1, or (ii) fails to accept personal
responsibility for his conduct by failing to acknowledge his guilt to the probation officer who
prepares the Presentence Report, (iii) moves to withdraw his guilty plea or (iv) commits any
offense in violation of federal, state or local law, then this Office will be relieved of its
obligations to the Defendant as reflected in this agreement. Specifically, this Office will be free
to argue sentencing guidelines factors other than those stipulated in this agreement, and it will
also be free to make sentencing recommendations other than those set out in this agreement. As
with any alleged breach of this agreement, this Office will bear the burden of convincing the
                                                 6
          Case 1:16-cr-00140-JFM Document 16 Filed 05/26/16 Page 7 of 10

Court of the Defendant's obstructive or unlawful behavior and/or failure to acknowledge
personal responsibility by a preponderance of the evidence. The Defendant acknowledges that
he may not withdraw his guilty plea because this Office is relieved of its obligations under the
agreement pursuant to this paragraph.

                                              Forfeiture

         17.    The defendant agrees to forfeit all right, title and interest in the property seized by
law enforcement authorities from his residence on February 6, 2015, including, but ~ot limited
to: a Gateway laptop computer, sIn: LXWMS020020232 I 5471601, made in China, containing a
Seagate 320GB hard disk drive, sIn: 6VD5JGPS, made in China; a PNY 32GB USB flash drive,
made outside the State of Maryland; a PNY Attache 2GB USB flash drive, made outside the
State of Maryland; a SanDisk Cruzer Micro 1GB USB flash drive, sIn: BB0710JEIB, made in
China; and a Toshiba ITB external hard drive. model: v63700-C, sIn: Z20DW2Y3TSX3, made
in China; as well as any other items seized which were forensic analysis establishes were used to
distribute and/or possess child pornography. He further agrees to take whatever steps are
necessary to pass clear title to those properties to the United States.

                                              Restitution

          IS.    For purposes of sentencing, the offense of conviction constitutes a crime of
violence pursuant to IS U.S.C. ~ 16. Therefore, under 18 U.S.C. ~~ 3663A, 2259, and 3771,
any identified victim is entitled to mandatory restitution. The restitution could include the .
medical bills, compensation for time missed from work, as well as counseling costs (including
travel) for any of the victims related to the incident, if any such costs exist or are reasonably
projected. IS U.S.C. ~~ 2259, 3663A(b)(2) and (4). The Defendant further agrees that he will
fully disclose to the probation officer and to the Court, subject to the penalty of perjury, all
information, including but not limited to copies of all relevant bank and financial records,
regarding the current location and prior disposition of all funds obtained as a result of the
criminal conduct set forth in the factual stipulation. The Defendant further agrees to take all
reasonable steps to retrieve or repatriate any such funds and to make them available for
restitution. If the Defendant does not fulfill this provision, it will be considered a material breach
of this plea agreement, and this Office may seek to be relieved of its obligations under this
agreement. Defendant understands that an unanticipated amount of a restitution order will not
serve as grounds to withdraw Defendant's guilty plea. If the Defendant is incarcerated, the
Defendant agrees to participate in the Bureau of Prisons Inmate Financial Responsibility
Program.

                                          Entire Agreement

         19.     This letter supersedes any prior understandings, promises, or conditions between
this Office and the Defendant and. together with the Sealed Supplement, constitutes the complete
plea agreement in this case. The Defendant acknowledges that there are no other agreements,
promises, undertakings or understandings between the Defendant and this Office other than those
set forth in this letter and the Sealed Supplement and none will be entered into unless in writing
and signed by all parties.

        Ifthe Defendant fully accepts each and every term and condition of this agreement,
                                                   7
          Case 1:16-cr-00140-JFM Document 16 Filed 05/26/16 Page 8 of 10

please sign and have the Defendant sign the original and return it to me promptly.

                                               Very truly yours,

                                               Rod 1. Rosenstein
                                               United States Attorney


                                         By:
                                                            --~@
                                               . u~son T. Mihok
                                               As istant United States Attorney


       I have read this agreement, including the Sealed Supplement, and carefully reviewed
every part of it with my attorney. I understand it, and I voluntarily agree to it. Specifically, I
have reviewed the Factual and Advisory Guidelines Stipulation with my attorney, and 1 do not
wish to change any part of it. 1 am completely satisfied with the representation of my attorney.




        I am Mr. Chaney's attorney. I have carefully reviewed every part of this agreement,
including the Sealed Supplement, with him. He advises me that he understands and accepts its
temlS. To my knowledge, his decision to enter into this agreement is an informed and voluntary
one.




                                                  8
         ~---------------------------------------,




          Case 1:16-cr-00140-JFM Document 16 Filed 05/26/16 Page 9 of 10

                               EXHIBIT A - STIPULATED        FACTS

         The undersigned parties hereby stipulate and agree that if this case had proceeded to
trial, the government would have proven the/ollowing/acts beyond a reasonable doubt. The
undersigned parties also stipulate and agree that the/ollowing/acts do not encompass all a/the
evidence that would have been presented had this matter proceeded to trial.

       Michael Francis Chaney (CHANEY), age 71, is a resident of Whiteford, Maryland.

         Over the course of several years, CHANEY utilized various email addresses, including,
but not limited to, STylor2015r@gmail.com and sparkzzzz.tylorOr@yahoo.com (which had an
alternate email addressofmanforboy2011@yahoo.com)          to both send and receive images and
videos of child pornography via the internet. For example, in March 2012, CHANEY sent five
(5) email messages from his sparkzzzz.tylorO@yahoo.com email account to another email
account which collectively contained 35 images of minors engaged in sexually explicit conduct,
to include a file entitled "photo 3.jpg", distributed on March 27, 2012, which depicts a naked
prepubescent male being anally penetrated by an adult male's penis. Again on September 24,
2013, CHANEY utilized the sparkzzzz.tylorO@yahoo.com to distribute a visual depiction of a
minor engaging in sexually explicit conduct utilizing the email address, including, but not
limited to, a file entitled "17.jpg," which depicts a prepubescent female kneeling before a male
with the male's erect penis penetrating her mouth.

        After confirming that the IP address utilized to upload the above child pornography files
resolved to the Defendant's residence in Harford County, a search warrant was applied for,
authorized, and executed on February 6, 2015. Agents seized a number of items, including, but
not limited to, a Gateway laptop computer, sIn: LXWM802002023215471601, made in China,
containing a Seagate 320GB hard disk drive, sIn: 6VD5JGP8, made in China; a PNY 32GB
USB flash drive, made outside the State of Maryland; a PNY Attache 2GB USB flash drive,
made outside the State of Maryland; a SanDisk Cruzer Micro 1GB USB flash drive, sIn:
BB071OJEIB, made in China; and a Toshiba ITB external hard drive, model: v63700-C, sIn:
Z20DW2Y3TSX3, made in China.

        Forensic analysis of the above referenced items revealed that all had images depicting
minors engaged in sexually explicit conduct stored on them. The images included prepubescent
minors and minors involved in sadistic, masochistic or other depictions of violence. There were
approximately 1,941 videos and 23,381 images of child pornography. These images and video
files depicting child pornography had been downloaded from various websites on the Internet,
and the Defendant had actively traded these images and videos of child pornography with other
individuals via the Internet.

         The images the Defendant distributed in and affecting interstate commerce and possessed
at his residence depicted prepubescent minors, under the age of 12, engaged in sexually explicit
conduct, to include images depicting sadistic and masochistic conduct, as well as other
depictions involving violence. The Defendant sought out these visual depictions on the Internet
and knowingly distributed them via the internet. The Defendant knew the images depicted
minors engaged in sexually explicit conduct; in addition, the images had traveled in interstate or
foreign commerce.
             Case 1:16-cr-00140-JFM Document 16 Filed 05/26/16 Page 10 of 10

           I have read this statement of facts, and carefully reviewed it with my attorney. I
    acknowledge that it is true and correct.


    5  /3 f
    Date
               ;;,t>/~                           ~/~

                                                 Michael Francis Chaney



            I am Michael Francis Chaney's attorney. I have carefully reviewed every part of this
    Factual Stipulation with him. He advises me that he understands and accepts its terms. To my
    knowledge, his decision to enter into this agreement is an informed and voluntary one.




                                                       2


l
